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                               Washington Injury Lawyers, PLLC

March 29, 2018

VIA CM/ECF

The Honorable Ricardo S. Martinez
United States District Court
700 Stewart Street, Suite 13134
Seattle, WA 98101

        Re:       Brittany Easton vs. Asplundh Tree Experts, Co.
                  USDC Case # 2:16-cv-01694

Judge Martinez:

         Plaintiff is in receipt of Defendant’s letters dated March 28 and 29, 2018. Plaintiff also seeks to
schedule a new, four-day jury trial of the above-referenced matter in light of the recent mistrial but
requests that the Court schedule the re-trial as soon as possible and in any case no later than July of 2018.
A delay of more than one year as Defendant requests would result in severe prejudice to Plaintiff. It
would also be inefficient to let the case languish for such an extended period of time. The matter is ready
to be re-tried as soon as possible as no additional discovery or trial prep needs to take place.

         Regarding Defendant’s supplemental letter requesting leave to learn more about the jury’s stance
on liability and damages, Plaintiff agrees that it would be helpful to learning whether or not a re-trial is
necessary or whether the case can be settled without re-trying it in its entirety. Thank you.

                                                   Sincerely,
                                                   WASHINGTON INJURY LAWYERS, PLLC



                                                   Jenna M. Labourr
                                                   Attorney at Law




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